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14                       UNITED STATES DISTRICT COURT
15                     CENTRAL DISTRICT OF CALIFORNIA
16                               WESTERN DIVISION
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     SECURITIES AND EXCHANGE                         Case No. EDCV 13-0776-JAK (KKx)
18   COMMISSION,
19               Plaintiff,                          SECOND AMENDED COMPLAINT
20         vs.                                        Judge: Hon. John A. Kronstadt
                                                      Courtroom: 10B
21   CITY OF VICTORVILLE, SOUTHERN
     CALIFORNIA LOGISTICS AIRPORT
22   AUTHORITY, KINSELL, NEWCOMB, &
     DEDIOS; J. JEFFREY KINSELL, and
23   JANEES L. WILLIAMS.
24               Defendants.
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1          Plaintiff Securities and Exchange Commission (the “SEC”) alleges as
2    follows:
3                                        SUMMARY
4          1.     This matter involves the offer and sale of tax increment municipal
5    bonds issued from 2006 to 2008 by one of the Defendants, the Southern California
6    Logistics Airport Authority (the “Authority”), which is an agency with
7    redevelopment powers controlled by its co-Defendant, the City of Victorville (the
8    “City”). The Authority was created to redevelop a 132-square mile area in and
9    around a former Air Force base in San Bernardino County, California. It
10   conducted several tax increment bond offerings in connection with this
11   redevelopment. Defendant Kinsell, Newcomb & DeDios, Inc. (“KND”) was the
12   sole underwriter for these bond offerings.
13         2.     Tax increment bonds are secured solely by and repaid solely from
14   increases in property tax revenues attributable to increases in the total assessed
15   value of the property located in the redevelopment project area. This means that
16   the “tax increment” – that is, the increase in tax revenue from increases in property
17   value – is critical to the security of the tax increment bonds. Equally important is
18   the metric called the “debt service ratio,” which compares the annual tax increment
19   revenue available to pay the outstanding bonds to the annual debt service on those
20   bonds.
21         3.     The Authority used tax increment bond offerings to finance a number
22   of ill-conceived redevelopment projects, including the construction of a power
23   plant and four new airplane hangars (“Hangars”) on the former Air Force base. By
24   late 2007, it needed $50 million to pay a deposit on a turbine for the power plant
25   pursuant to a contract entered into between the City and a third party. Although
26   the Authority was not a party to the contract to purchase the turbine, the City
27   pledged future bond proceeds from the Authority as security for the contract. The
28   Authority planned to finance the $50 million down payment with a new $68


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1    million tax increment bond offering. However, given the tightening credit market
2    and the subordinate nature of the bonds, prospective bond purchasers demanded
3    that the debt service ratio for this offering be increased to 1.25 (from the 1.10 ratio
4    governing prior bond offerings). As a result, the Authority was forced to downsize
5    its December 2007 bond offering from $68 million to $42 million. This left the
6    Authority with few resources to continue its redevelopment activities. Indeed, by
7    this time, nearly all of the tax increment available to the Authority had been used
8    to secure its prior bond issuances.
9          4.     In February 2008, in an effort to escape from this financial constraint,
10   the Authority borrowed $35 million in short-term financing. It then publicly
11   offered $13.3 million of subordinate tax increment bonds in April 2008 to repay
12   part of that short-term debt. This April 2008 financing was premised, in part, on
13   an assessed value of $65 million for the four Hangars. This $65 million valuation
14   was used to determine the all-important tax increment for the April 2008 bond
15   offering, and allowed the Authority to satisfy the minimum 1.25 annual debt
16   service ratio for the offering.
17         5.     However, the Hangars’ $65 million assessed value was vastly inflated,
18   resulting in the disclosure of false tax increment and debt service ratios in the
19   Official Statement provided to investors in the April 2008 bond offering. Keith
20   Metzler (“Metzler”), the Director of Economic Development for the City and an
21   agent for the Authority, and the two KND investment bankers—Defendant Jeffrey
22   Kinsell (“Kinsell”), the owner of KND, and Defendant Janees Williams—knew or
23   should have known that the assessed value of the Hangars was inflated, and, as a
24   result, that the tax increment and debt service ratios disclosed to investors were
25   false. Yet they each withheld this information, resulting in materially misleading
26   disclosures and a substantially oversized bond offering.
27         6.     Kinsell and KND also took undisclosed construction and management
28   fees collected on the airport hangar project. In 2006, the Authority retained KND


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1    Affiliates, LLC (“Affiliates”), an entity partially-owned by Kinsell, to manage this
2    project. The Authority agreed to compensate Affiliates and its contractor under a
3    “cost plus 10% construction management fee” contract. However, Affiliates
4    exploited this fee arrangement by paying itself at least $450,000 more in fees than
5    it was owed.
6          7.       Affiliates further took $2.3 million of bond proceeds through a 15%
7    monthly “property management fee.” Affiliates transferred over $1 million of
8    unauthorized property management fees to KND Holdings (“Holdings”), the parent
9    of KND. KND then used the majority of these fees to finance KND’s operating
10   expenses, including payroll. The Authority never authorized Affiliates to collect
11   these excessive fees, which Affiliates took from bond proceeds intended to
12   complete construction of the Hangars. As a result of the unauthorized construction
13   management fees and property management fees, Affiliates took a total of
14   approximately $2.7 million in bond proceeds.
15         8.       By engaging in this conduct the Authority and the City, violated
16   Section 17(a)(2) of the Securities Act of 1933 (the “Securities Act”). KND,
17   Kinsell and Williams aided and abetted the Authority’s violations of Section 10(b)
18   of the Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 thereunder.
19   Moreover, KND violated Section 15B(c)(1) of the Exchange Act and Municipal
20   Securities Rulemaking Board Rules G-17, G-27 and G-32(a)(iii)(A)(2), Kinsell
21   aided and abetted each of these violations, and Williams aided and abetted KND’s
22   violations of Section 15B(c)(1) and Rule G-17. Therefore, with this action, the
23   SEC seeks permanent injunctions, disgorgement with prejudgment interest and
24   civil penalties against Defendants.
25                              JURISDICTION AND VENUE
26         9.       This Court has jurisdiction over this action pursuant to Sections 20(b),
27   20(d)(1) and 22(a) of the Securities Act, 15 U.S.C. §§ 77t(b), 77t(d)(1) & 77v(a),
28   and Sections 21(d)(1), 21(d)(3)(A), 21(e) and 27 of the Exchange Act, 15 U.S.C.


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1    §§ 78u(d)(1), 78u(d)(3)(A), 78u(e) & 78aa.
2           10.    Defendants Authority, the City, KND, and Kinsell have, directly or
3    indirectly, made use of the means or instrumentalities of interstate commerce, of
4    the mails, or of the facilities of a national securities exchange in connection with
5    the transactions, acts, practices and courses of business alleged in this Complaint.
6           11.    Venue is proper in this district pursuant to Section 22(a) of the
7    Securities Act, 15 U.S.C. § 77v(a), and Section 27 of the Exchange Act, 15 U.S.C.
8    § 78aa, because certain of the transactions, acts, practices and courses of conduct
9    constituting violations of the federal securities laws occurred within this district.
10   In addition, venue is proper in this district because the City and the Authority
11   reside in this district.
12                                      DEFENDANTS
13          12.    The City of Victorville is located in southwestern San Bernardino
14   County, approximately 90 miles northeast of Los Angeles, California. As of 2012,
15   the City’s population was estimated at approximately 115,000 residents. The City
16   is governed by a five-member council, the members of which also comprise the
17   governing board of the Authority. With regard to the Authority, the City operates
18   as a successor to the Victor Valley Economic Development Authority. The City’s
19   general fund, along with the funds belonging to the Authority (and to the City’s
20   other component units), are all pooled and co-mingled in a single bank account in
21   the name of the City. The funds are sometimes used interchangeably, including
22   during the fiscal year covering July 1, 2007 through June 30, 2008. At times,
23   including in 2007 through 2008, when the April 2008 Bonds were issued, funds
24   belonging to various component units of the City (including the Authority) were
25   transferred between City component units. These interfund transfers were not
26   identified or recorded in the City’s accounting system until the end of the fiscal
27   year, on or about June 30, 2008. For example, during the fiscal year ending June
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1    30, 2008, funds from the City’s Water District Fund were transferred to the
2    Authority to cover its budget shortfall of more than $15 million.
3          13.    The Southern California Logistics Airport Authority, a joint
4    exercise of powers authority under state law, is the issuer of the relevant bonds
5    discussed herein, and is considered a component unit of the City for accounting
6    purposes. The Authority is governed by a five-member commission, which
7    consists of all members of the city council of the City, and the City’s
8    administrative staff serves as the Authority’s administrative staff. The Mayor
9    serves as the Authority’s Chairman, the City Manager serves as the Authority’s
10   Executive Director and the City’s Finance Director serves as the Authority’s
11   Treasurer. To the extent the Authority experienced a shortfall in its annual budget,
12   including in 2007 through 2008, when the April 2008 Bonds were issued, the City
13   would advance money from its various funds, such as the City’s general fund and
14   the City’s Water District Fund, to meet the shortfall. At the end of the City’s fiscal
15   year, including the fiscal year ended June 30, 2008, this borrowing activity would
16   be noted in the City’s financial statements.
17         14.    Kinsell, Newcomb, & DeDios, Inc. is a California corporation
18   formed on March 22, 1985 and located in Carlsbad, California. It has been
19   registered with the SEC as a broker-dealer since May 30, 1985. It is owned by
20   KND Holdings, which in turn is owned by Kinsell.
21         15.    J. Jeffrey Kinsell, age 61, resides in Carlsbad, California. He is the
22   owner, Director, President and Chief Compliance Officer of KND. He is the
23   owner of KND Holdings and 50% owner of Affiliates. He has series 7, 24, 53 and
24   63 FINRA licenses.
25         16.    Janees L. Williams, age 36, resides in San Diego, California. She is
26   the Vice President of KND. She has series 7 and 63 FINRA licenses.
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1                                 STATEMENT OF FACTS
2    A.    The City and the Authority
3          17.    Formerly a small town on the edge of the Mojave Desert, during the
4    2000s, the City became an “ex-urb” of Los Angeles, and saw its population jump
5    from 40,000 in 1990 to 115,000 in 2012, making it one of the fastest growing cities
6    in the nation. The City sought to use its expanding property tax base to establish
7    local industries and create jobs, particularly after the 1992 closure of one of its
8    largest employers, George Air Force Base, located within the City.
9          18.    Working in conjunction with the County of San Bernardino and other
10   local communities, the City created the Authority. The Authority adopted a plan
11   under California’s redevelopment law to redevelop a 132-square mile project area
12   in and around the former George Air Force Base now known as the Southern
13   California Logistics Airport (the “Airport”). Much of the work on the
14   redevelopment plan was conducted under the auspices of the Authority’s
15   predecessor, the Victor Valley Economic Development Authority, which delegated
16   all of its redevelopment powers to the Authority.
17   B.    Tax Allocation, or Tax Increment, Financing
18         19.    Municipalities often raise funds through “general obligation bonds,”
19   which, in general, are secured and their debt service paid by a municipality’s its
20   ability to raise revenue through the imposition of taxes.
21         20.    However, the Authority does not have the power to levy property
22   taxes. Therefore, instead of general obligation bonds, it relied on “tax allocation”
23   bonds, also known as “tax increment” bonds, to finance the capital projects for the
24   redevelopment of the Airport area.
25         21.    Although fairly common in California, tax increment bonds are
26   structured very differently than the more familiar general obligation bonds. Unlike
27   general obligation bonds, tax increment bonds cannot rely on a municipality’s
28   general taxing authority to secure and pay the obligation of the bonds. Instead, tax


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1    increment bonds are only secured, and their obligations can only be paid, by the
2    “incremental” increase in property tax revenues resulting from an increase in the
3    aggregate assessed value of the property within the relevant redevelopment area.
4    The increased assessed value can result from appreciation in existing properties or
5    new construction.
6          22.    Consequently, the amount of tax increment bonds that a
7    redevelopment agency like the Authority can issue is limited to the increase in the
8    aggregate assessed value of the property in the redevelopment area.
9          23.    To calculate the amount of the property tax increment available to
10   secure and pay the debt service of tax increment bonds, the assessed value of
11   property in a redevelopment area is first determined for a particular “base” year,
12   typically the year immediately before the redevelopment plan was adopted. The
13   annual tax revenue collected from the property in the area is then divided among
14   the local taxing agencies within the redevelopment project area and the
15   redevelopment agency. Generally, the tax agencies receive the taxes that are
16   generated from the base year valuation of that property, while, subject to various
17   exceptions and carve-outs, the redevelopment agency receives the remainder—that
18   is, the “tax increment”—which is the tax revenue collected on any increase in the
19   assessed value of the project area over the base year valuation of that property.
20   The redevelopment agency may then pledge this tax increment revenue to repay
21   tax increment bonds used to finance or refinance redevelopment projects.
22         24.    A redevelopment agency does not typically pledge tax increment to
23   repay a specific bond issuance by that agency. Instead, the aggregate amount of
24   the tax increment in a project area is often “pooled” and pledged to repay all of the
25   associated tax increment bonds issued by the agency. Nevertheless, specific tax
26   increment bonds may have a senior or subordinated claim to the aggregate tax
27   increment pledged by a redevelopment agency. Generally, investors holding
28   subordinate bonds, like the April 2008 Bonds that are at the heart of this action, are


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1    more sensitive to any changes in the tax increment than those holding senior lien
2    bonds.
3          25.    Because the obligations under tax increment bonds are secured by and
4    paid from the incremental increase in property tax revenues, the amount of the
5    increase in the aggregate assessed value of the redevelopment area is material
6    information for the bond investors, especially those holding subordinate bonds.
7    For the same reason, the ability of the agency issuing the bonds to pay the debt
8    service is material information for bond investors, and even more so for
9    subordinated bondholders. One common measure of this ability is the “debt
10   service ratio,” which compares the annual tax increment revenue available to repay
11   bonds to the annual debt service payments on all outstanding bonds. The ratio
12   shows how much the Authority and bondholders would be protected in the event
13   assessed property values in the project area dropped. For example, a debt service
14   ratio of 1.25 means that the tax increment has a 25% cushion above the amount
15   owed on all outstanding bonds. As a result, the debt service ratio was material
16   information to bond investors.
17   C.    The Authority’s Tax Increment Bond Offerings
18         1.     The Offerings, KND and the Official Statements
19         26.    Between 2006 and 2008, the Authority offered and sold at least four
20   tax increment financings relevant to this action: (1) a $34,980,000 tax allocation
21   revenue parity bond offering dated November 1, 2006 (the “November 2006 Parity
22   Bonds”); (2) a $64,165,000 subordinate tax allocation revenue bond offering dated
23   November 21, 2006 (the “November 2006 Revenue Bonds”); (3) a $42 million
24   subordinate tax allocation bond offering dated December 5, 2007 (the “December
25   2007 Bonds”); and (4) a $13,334,924.85 subordinate tax allocation bond offering
26   dated April 30, 2008 (the “April 2008 Bonds”).
27         27.    The proceeds from the bond offerings by the Authority inured to the
28   benefit of the City. For example, proceeds from bonds issued by the Authority in


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1    December 2007 and proceeds from Notes entered into between the Authority and a
2    private bank in February 2008 were used to a make a $50 million down payment
3    on behalf of the City for a power plant turbine.
4          28.    For each of the four tax increment bond offerings by the Authority,
5    investors were provided with an “Official Statement” describing the terms and
6    conditions of each bond.
7          29.    KND was the underwriter for each of these four tax increment bond
8    offerings. KND was first engaged as the underwriter for the City in 1997, and by
9    2001, it began serving as the sole underwriter for the Authority. Between 2001
10   and 2008, KND earned over $5.1 million in underwriter fees for bonds issued by
11   the Authority and sold by KND to investors.
12         2.     The Tax Increment for the Bonds
13         30.    The assessed valuation of the Airport project area for its 1997-1998
14   base year was $1.8 billion. Any increase in this assessed valuation, and the
15   resulting tax revenue, subject to various exceptions and carve-outs, represented the
16   tax increment available to the Authority for securing and paying the obligations of
17   its tax increment bonds. However, as discussed below, by the end of 2007, the
18   Authority’s total outstanding debt from its previously-issued tax increment bonds
19   was so large that the Authority could not issue any additional tax increment bonds
20   unless the property value in the area increased or there was new development in
21   the area.
22         31.    For each offering, the Authority hired a fiscal consultant (the
23   “Consultant”) to determine the additional tax increment revenue available to secure
24   the repayment of any new bond issue, and to prepare a report included as an
25   appendix to the Official Statements for the bond offerings.
26         32.    In calculating projected tax increment revenues, the Consultant first
27   looked to the county assessor’s most recent property rolls to determine the assessed
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1    value of property in the area. The county assessor is the municipal official
2    responsible for determining the value of property in the county for tax purposes.
3          33.    The assessor’s office revises the property tax rolls only once a year,
4    creating a lag time before the current assessed values of properties resulting from
5    new sales or construction appear on the property tax rolls. As a result, the
6    Consultant could not simply compare the county assessor’s most recent annual
7    property roll to that for the 1997-1998 base year.
8          34.    Rather, the Consultant had to add the new assessed values due to new
9    construction, which had not yet been incorporated onto the annual property roll, to
10   the assessed values reflected on the last annual property roll. The Consultant
11   typically received the increased assessed values regarding new construction for the
12   project area from Metzler’s office.
13         35.    The Authority’s Official Statements referenced the Consultant’s
14   reports, which discussed among other things, the current status of development in
15   the project area and the resulting tax increment revenue available to serve as
16   security for the bonds. The Official Statements also attached the Consultant’s
17   reports as an appendix. As such, the Consultant’s reports were also provided to
18   bond investors.
19   D.    The Official Statement for the April 2008 Bond Offering
20         1.     The Hangars and the November 2006 Bond Offerings
21         36.    The Authority undertook a variety of ill-conceived projects in
22   connection with its efforts to develop the Airport area. These included the
23   construction of a proposed power plant known as “Victorville 2,” an inter-modal
24   rail facility and, at the crux of this action, the Hangars.
25         37.    In 2005 and 2006, the Authority issued bonds underwritten by KND
26   in order to build the Hangars, including the November 2006 Parity Bonds and the
27   November 2006 Revenue Bonds. The Authority initially hired an outside
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1    developer to develop the Hangars. As discussed in more detail below, however,
2    the Authority eventually hired Affiliates to take over the project.
3          2.     The Downsized December 2007 Bond Offering
4          38.    The Authority initially planned to issue approximately $68 million of
5    tax increment bonds in late 2007 to finance an initial deposit for an electric turbine
6    for the “Victorville 2” power plant pursuant to a contract between the City and a
7    third party. The Authority was not a party to this agreement. Ultimately, by the
8    time it issued the December 2007 Bonds, the Authority was only able to offer $42
9    million in bonds, and netted just $37 million from the offering.
10         39.    The Authority was forced to downsize the December 2007 Bond
11   offering because prospective bond purchasers demanded that the Authority
12   increase the debt service ratio. Bond investors had previously accepted a debt
13   service ratio of 1.10. However, due to the tightening credit market at the time and
14   the subordinate nature of the bonds, prospective bond purchasers demanded a
15   significant increase in the annual debt service ratio to 1.25.
16         40.    The debt service ratio is determined by taking the projected annual tax
17   increment revenue available to repay all tax increment bonds and dividing that
18   number by the annual debt service payments on all outstanding tax increment
19   bonds. The debt service ratio was determined from data provided by the consultant
20   and KND. Specifically, the projected annual tax increment revenue available to
21   repay all tax increment bonds was calculated by the Consultant and set forth in the
22   report it issued for the December 2007 Bonds (the “December 2007 Report”). The
23   annual debt service payments on all outstanding tax increment bonds was
24   calculated by KND.
25         41.    Although the aggregate tax increment revenue available to pay debt
26   service was substantial, by December 2007, the Authority had already consumed
27   all but a small portion of that amount to service its prior bond issues. Therefore,
28   under the increased debt service ratio of 1.25 required by prospective investors, the


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1    Authority was no longer able to service $68 million in debt. Therefore, it
2    downsized the bond issuance from $68 million to $42 million. The majority of the
3    proceeds the Authority received from this offering, $37 million, was used to make
4    a down payment of $50 million pursuant to the turbine agreement between the City
5    and a third party. Proceeds of the Authority’s bond offering therefore directly
6    benefited the City.
7          42.    Prospective investors also demanded that, for all of the Authority’s
8    future tax increment bond issuances, the annual debt service ratio for each year all
9    of the bonds are outstanding must be at least 1.25 to comply with the 1.25 annual
10   debt service ratio. This requirement was incorporated in the “additional bonds”
11   covenant under the governing indenture, which generally set limitations on the
12   Authority’s ability to issue new bonds.
13         3.     The Private Placement in February 2008
14         43.    The downsizing of the December 2007 bond issuance from $68
15   million to $42 million left the Authority with few resources to continue its
16   redevelopment activities. Indeed, the Authority needed to apply all of the net
17   proceeds of the December 2007 Bonds to make the initial $50 million deposit on
18   the “Victorville 2” electric turbine pursuant to the contract between the City and a
19   third party. The Authority did so pursuant to a security agreement between it and
20   the third party. As part of that agreement, the Authority agreed to provide security
21   for the City’s turbine agreement because the Authority had determined that it will
22   benefit from the goods and services to be received by the City under the turbine
23   agreement. Among other things, the security agreement, executed in December
24   2007, gave the third party a security interest in and a lien on the Authority’s future
25   bond offerings.
26         44.    In late November 2007, Kinsell recognized the Authority’s difficult
27   financial situation. He wrote emails stating that the Authority had essentially “put
28   themselves out of the redevelopment business and have few resources to do


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1    anything else.” Kinsell also described the Authority as being “panicked” at this
2    time and believed it “needed money right away.” He noted that a third party could
3    emerge to help the Authority obtain funds for other projects.
4          45.    Third-party financing is the option the Authority ultimately pursued.
5    In particular, the Authority borrowed $35 million in a private placement offering of
6    Subordinate Tax Allocation Revenue Notes to a major commercial bank (the
7    “Bank”), on February 29, 2008. A portion of the proceeds the Authority received
8    from this offering, $13 million, was used to fund the remaining portion of the $50
9    million down payment for the “Victorville 2” electric turbine. Proceeds of the
10   Authority’s bond offering therefore directly benefited the City.
11         46.    As part of this private placement, the Bank required the Authority to
12   enter into a forward bond purchase agreement that, in essence, obligated the
13   Authority to issue publicly offered “forward” tax increment bonds, at the time of
14   the Bank’s choosing, for the purpose of repaying, in whole or in part, the $35
15   million invested by the Bank. The Bank was not obligated to purchase any of
16   those forward bonds, and the Authority’s obligation was dependent on the
17   existence of sufficient tax increment to secure such bonds.
18         4.     The Hangars’ Assessed Value for the Private Placement
19         47.    The Authority needed sufficient tax increment revenue to repay the
20   $35 million in Subordinate Tax Allocation Revenue Notes held by the Bank.
21   Therefore, during the private placement negotiations, the Bank focused on the
22   estimated additional assessed value and resulting tax increment from any new
23   construction that had not been used to secure the December 2007 Bonds.
24         48.    On December 17, 2007, just two days after the December 2007 Bonds
25   closed, the Bank held a conference call with Williams, Metzler and the Consultant
26   to discuss the timing and amount of any new assessments, and, by virtue of being a
27   factor in determining the amount of any new assessed value, the cost of any new
28   development at the Airport. As conditions for closing the private placement, the


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1    Bank required, among other things, that: (1) the Consultant certify the estimated
2    tax increment revenues and compliance with the additional bonds test; and (2)
3    Metzler provide an affidavit, attached to his estimates of assessed valuations,
4    certifying that the estimates were correct to the best of his knowledge.
5             49.   Metzler prepared a spreadsheet for the Bank that, among other things,
6    set forth the estimated additional assessed values for projects not reflected in the
7    December 2007 Bonds (the “Metzler Spreadsheet”). These projects included the
8    four Hangars, as well as the expansion of a cement factory by one of the largest
9    taxpayers in the project area. The assessed value of these projects was critically
10   important to the Authority’s ability to close the private placement with the Bank.
11            50.   On January 17, 2008, Metzler reported to the Bank, Kinsell and
12   Williams that the assessor’s office informed him the cement factory’s additional
13   assessed value was just $41 million. This was tens of millions less than the
14   anticipated range of $91 million to $141 million in additional assessed value from
15   the cement factory expansion.
16            51.   That same day, Williams wrote to Kinsell that the Bank was
17   concerned about the unexpectedly low assessed valuation increase. Williams also
18   called Metzler on or about January 17, 2008 to discuss the situation, and cautioned
19   him that his assumptions need to be correct because they related to tax increment.
20   Around this time, Kinsell also expressed concern about the unexpectedly low
21   assessed value of the cement factory.
22            52.   Although the increase in the assessed value for the cement factory
23   dropped significantly from the earlier estimates, the estimated assessed value of all
24   four Hangars never changed. On January 17, 2008, Williams told the Bank that the
25   total value of the four Hangars would be $65 million. This figure had been
26   provided by Affiliates, and was purportedly based on the Hangars’ construction
27   costs.
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1          53.    On January 18, 2008, Metzler forwarded an email he received from
2    the assessor’s office to Williams showing it had assessed the values of Hangar
3    Nos. 1 and 2 at an aggregate value of only $8,779,000 for the 2007-2008 fiscal
4    year, and $8,955,000 for the 2008-2009 fiscal year. The assessor’s office also
5    informed Williams that it had not yet assessed the value of Hangar Nos. 3 and 4.
6          54.    These assessment figures undermined the $65 million estimate for all
7    four Hangars. Under this assessment, the remaining two Hangars (Nos. 3 and 4)
8    would have to be valued at approximately $56 million alone for the previously
9    provided estimate for all four Hangars of $65 million to have any validity. But the
10   remaining two Hangars could not be assessed at over $56 million. The four
11   Hangars were too similar for such a disparate valuation to be possible.
12         55.    Nevertheless, Williams and Metzler used the $65 million assessed
13   value for all four Hangars. Metzler included the $65 million value in a draft of the
14   Metzler Spreadsheet he prepared in advance of a conference call with the Bank,
15   Williams, the Authority’s counsel (“Disclosure Counsel”) and others. Williams
16   emailed the Metzler Spreadsheet to the meeting participants, as well as to Kinsell.
17   The Metzler Spreadsheet reflected: (1) the estimated $65 million assessed value
18   for all four Hangars for the 2008-2009 fiscal year; and (2) the $56,221,000 Hangar
19   valuation available for bonding in 2008-2009 (i.e., the $65 million estimated
20   assessed value for the Hangars in 2008-2009 minus the $8.779 million assessed
21   value for Hangars No. 1 and 2 in 2007-2008 ).
22         56.    The Consultant relied on the $65 million estimated assessed value
23   Metzler provided for the Hangars when it conducted its tax increment analysis.
24   The Consultant prepared a spreadsheet (the “Consultant Spreadsheet”) showing the
25   total value of new development at the Airport was $111,309,322, and that the
26   Hangars constituted $56,221,000, or over half, of that amount. The Consultant
27   noted in its spreadsheet that the $56,221,000 valuation was based on “Data
28   Provided By Keith [Metzler].” On February 11, 2008, Williams emailed the


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1    Consultant Spreadsheet to the Bank, Kinsell and Metzler. As alleged below, the
2    Consultant used the $111,309,322 value of the new development at the Airport,
3    which included the inflated $65 million value of the four Hangars, to determine the
4    tax increment revenue for the April 2008 Bonds.
5          57.    On February 19, 2008, the Consultant sent a letter to Metzler,
6    Williams and Disclosure Counsel setting forth the methodology it used to
7    determine its tax increment revenue projection of $22,606,356. That letter noted
8    that the assessed values in the Airport’s portion of the project area increased by
9    $111,309,322 due to new construction.
10         58.    Metzler and Williams were concerned that the assessor’s office would
11   provide assessed values for Hangar Nos. 3 and 4 that, when added to the assessed
12   values of Hangar Nos. 1 and 2, would reduce the total assessed value of the four
13   Hangars to less than $65 million. On February 19, 2008, Metzler received an
14   email that attached a voicemail from the assessor’s office alerting him that it had
15   not received construction cost information for Hangar Nos. 3 and 4. Metzler
16   forwarded the email and attached voicemail to Williams that same day and wrote:
17   “Can you follow up and make sure this happens…. My concern is without the
18   construction numbers, they will value the hangars low as the leases are not
19   commensurate with the construction costs.” Williams forwarded the email to
20   Kinsell that same day.
21         59.    As part of the closing documents for the private placement on
22   February 29, 2008, Metzler provided the final version of the Metzler Spreadsheet
23   and attached it to a signed certification stating that his estimates were true and
24   accurate based on his personal knowledge and communications with the assessor’s
25   office and the Airport’s master developer. In his certification to the Bank, Metzler
26   noted that: (1) the $65 million estimate for the Hangars was based on an estimate
27   provided by Affiliates; and (2) it was possible the value could change because the
28   assessor’s office had yet to complete its valuation of the Hangars. Notably,


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1    Metzler did not make a similar disclosure in connection with the April 2008 Bonds
2    sold to the public.
3          5.     The April 2008 Bond Offering
4          60.    In April 2008, the Bank exercised its option to require the Authority
5    to issue publicly offered bonds to repay part of the $35 million note.
6    Approximately $13.335 million in subordinate tax increment bonds were offered
7    on April 30, 2008 to repay part of this debt (the “April 2008 Bonds”).
8          61.    The April 2008 Bonds are at the crux of this action. The April 2008
9    Bonds were the only forward bonds the Authority was ever able to issue pursuant
10   to its forward bond purchase agreement with the Bank. In addition to proceeds
11   from the April 2008 Bonds, the Authority ultimately used funds loaned from
12   another City component unit to repay the debt to the Bank.
13         6.     The Hangars’ Assessed Value for the April 2008 Bond Offering
14         62.    When the Authority began preparing for the April 2008 Bond offering
15   to make the required payment to the Bank, the Consultant needed to revisit the
16   amount of available tax increment. For the April 2008 Bonds, the Consultant
17   prepared a supplement to its December 2007 Report (the “April 2008
18   Supplement”) that “contain[s] tax increment projections that supplement
19   information contained in” the December 2007 Report. The December 2007 Report
20   and the April 2008 Supplement (collectively, the April 2008 Report”) were
21   attached as Appendix D to the Official Statement for the April 2008 Bonds (the
22   “April 2008 Official Statement”). The April 2008 Official Statement also
23   references the April 2008 Report at page 23. The April 2008 Official Statement
24   and the April 2008 Report contained material information for bond investors
25   related to the bonds’ tax increment and debt service ratio.
26         63.    Like the Consultant’s spreadsheet prepared for the February 2008
27   private placement, the April 2008 Supplement included assessed values and
28   resulting increased tax increment derived from new, finalized construction and


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1    sales not included in the December 2007 Report. The April 2008 Supplement, at
2    Exhibit 10C on page 4, provided that the increased assessed value due to new
3    development at the Airport was $111,309,322, the same amount used in the
4    Consultant Spreadsheet prepared for the private placement.
5          64.    This $111,309,322 valuation of new development at the Airport
6    included Williams’s and Metzler’s inflated $65 million estimated value for all four
7    Hangars. The Consultant used this $111,309,322 valuation of new development at
8    the Airport to determine the tax increment revenue for the April 2008 Bonds.
9          65.    By April 2008 though, Metzler, Williams and Kinsell knew or should
10   have known that the Hangars’ $65 million estimated assessed value was no longer
11   valid. On March 10, 2008, Metzler received an email from the assessor’s office
12   informing him that Hangar No. 3’s 2008-2009 assessed value was only $9,483,260.
13   The assessor’s office also informed Metzler that it had not heard from Affiliates
14   regarding the construction cost of Hangar No. 4. It further noted that if it did not
15   hear from Affiliates, the assessor’s office would assess Hangar No. 4 at the same
16   value as Hangar No. 3 because “[b]oth hangars are identical.” Metzler directed his
17   assistant to forward the assessor’s office’s email to Williams with the dictated
18   message: “FYI…lower than we expected.” Williams forwarded that email the
19   same day, copying Kinsell, and wrote that “we need to get this done ASAP this
20   week.”
21         66.    Also on March 10, 2008, Metzler’s assistant replied to the assessor’s
22   office’s email, asking if the assessor’s office could re-send the assessed valuations
23   for Hangar Nos. 1 and 2. The assessor’s office provided those assessed values to
24   Metzler’s assistant that night. Metzler’s assistant printed out her March 10, 2008
25   email correspondence with the assessor’s office showing the assessed values for
26   Hangar Nos. 1, 2 and 3, as well as the likely assessed value for Hangar No. 4, and
27   gave it to Metzler on or about March 10, 2008.
28         67.    On April 9, 2008, Disclosure Counsel provided Metzler and others


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1    with a draft of the Preliminary Official Statement. Disclosure Counsel specifically
2    asked Metzler to review the development sections and advise Disclosure Counsel
3    of any changes. The Preliminary Official Statement listed the tax increment
4    revenue projection at $22,606,356, the same amount listed in connection with the
5    Private Placement Offering with the Bank. Although Metzler should have been
6    aware by this date that the Hangars were valued at less than $28 million, rather
7    than $65 million, he did not correct the tax increment revenue projection listed in
8    the Preliminary Official Statement or alert Disclosure Counsel about the lower
9    assessed value for the Hangars.
10         68.    On April 14, 2008, Janees Williams sent an email to Disclosure
11   Counsel, with a copy to Metzler, that contained the Supplement from the
12   Consultant. The Supplement listed new development at the Airport as
13   $111,309,322 and the tax increment revenue projection was listed as $22,606,356.
14   These amounts had not been reduced since the Private Placement with the Bank,
15   despite the fact that Metzler should have known that the Assessor had valued the
16   Hangars at less than $28 million, rather than $65 million. Metzler did not inform
17   the Consultant or Disclosure Counsel about the lower assessed values for the
18   Hangars after receiving this email with the Consultant’s Supplement.
19         69.    Later on April 14, 2008, Disclosure Counsel sent Metzler and others
20   another draft of the Preliminary Official statement and informed them that “[i]n
21   preparation for printing early this week, attached for your review and comment are
22   clean and marked copies of the SCLAA Preliminary Official Statement, together
23   with a Summary of the Indenture. Kindly advise me of any comments or updates
24   at your earliest opportunity.” The tax increment revenue projection listed in the
25   attached Preliminary Official Statement as $22,606,356; it had not been reduced to
26   accurately reflect the lower assessed values for the Hangars.
27         70.    On April 15, 2008, Metzler’s assistant sent an email to Disclosure
28   Counsel with Metzler’s revisions to the Preliminary Official Statement. Although


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1    Metzler made changes to the Preliminary Official Statement, including changing
2    the population and construction permit data, he did not change the tax increment
3    projection table, which listed the tax increment revenue projection at $22,606,356.
4          71.    Later on April 15, 2008, Disclosure Counsel sent an email to the City
5    Attorney and Director of Finance, with a copy to Metzler. Disclosure Counsel
6    included another draft of the Preliminary Official Statement and noted that she had
7    “received comments from Keith Metzler, which we are incorporating in the
8    document.”
9          72.    Also on April 15, 2008, Metzler emailed Williams and Disclosure
10   Counsel and notified them that he had “issued my comments this morning” and
11   asked to advise him if his comments had not been received. That evening
12   Disclosure Counsel emailed Metzler and confirmed that she had received his
13   comments.
14         73.    On April 16, 2008, Williams sent a two-page email to Metzler asking
15   him to confirm various facts for proposed buyers of the April 2008 Bonds,
16   including fourteen different issues separated by bullet points. Among the many
17   items she asked Metzler to confirm was “4 Hangars approximately $65,000,000
18   based on construction value.” Metzler’s assistant responded at his direction to
19   Williams the same day by email, attaching the Assessor’s office’s March 10, 2008
20   emails containing the assessed valuations for Hangar Nos. 1, 2 and 3, and the likely
21   assessed valuation for Hangar No. 4. That same day, Williams forwarded the
22   email, along with the attached Assessor’s office’s email, to Kinsell.
23         74.    Despite the fact that Williams was continuing to use the $65 million
24   valuation for the Hangars, Metzler did not inform Disclosure Counsel of the lower
25   assessed value for the Hangars, even though he should have known the Preliminary
26   Official Statement was being finalized and printed that week. In addition, based on
27   his experience, Metzler knew Disclosure Counsel was in control of the Preliminary
28   Official Statement and any changes to the Preliminary Official Statement should


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1    have been sent directly to Disclosure Counsel.
2          75.    Later on April 16, 2008, Disclosure Counsel sent an email to Metzler
3    and to the Director of Finance. Disclosure Counsel asked that they advise her if
4    they are “signed off on the printing of SCLAA’s Preliminary Official Statement
5    tomorrow.” She noted that she had “incorporated the comments Keith sent
6    yesterday.” Disclosure Counsel attached a copy of the Preliminary Official
7    Statement, which listed the tax increment revenue projection as $22,606,356.
8    Metzler understood that Disclosure Counsel sent him the Preliminary Official
9    Statement in order to make sure that he did not have any additional comments and
10   so that she would have the most reliable version of it.
11         76.    The evening of April 16, 2008, Metzler responded to Disclosure
12   Counsel by email and wrote that “[p]resuming no changes beyond what I
13   suggested from the last version, I am ok with the document.”
14         77.    The next morning, on April 17, 2008, Disclosure Counsel sent
15   Metzler and others an email stating “[a]ttached for your review and approval are 8
16   pages of the SCLAA POS, reflecting changes made since the last distribution.”
17   She attached a copy of the changes to the Preliminary Official Statement. She also
18   asked that Metzler and the other recipients of the email provide her with “any
19   comments or your approval to print” the Preliminary Official Statement.
20         78.    A few minutes later on the same date, April 17, 2008, Williams asked
21   that Metzler, the City Attorney and the Director of Finance “sign off on the POS as
22   soon as possible so that we can begin to market the bonds.” She included a copy
23   of the Preliminary Official Statement. Later that afternoon, April 17, 2008,
24   Williams emailed disclosure counsel that she “[j]ust got sign off from Keith.”
25         79.    Assuming Hangar No. 4 would be assessed at the same value as
26   Hangar No. 3, the total assessed values of the four Hangars would have been $27.7
27   million for 2007-2008 and $27.9 million for 2008-2009. In either case, this
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1    valuation is less than half the estimated value of $65 million that was used in the
2    April 2008 Supplement, referenced in and attached to the Official Statement.
3          80.    The minimum 1.25 annual debt service ratio for the April 2008 Bond
4    offering was only achieved because the approximate $111.3 million valuation of
5    new development at the Airport included the inflated $65 million valuation of the
6    four Hangars.
7          7.     The False and Misleading April 2008 Official Statement
8          81.    Page 24 of the April 2008 Official Statement contained a debt service
9    schedule listing the annual tax increment and debt service ratios for the April 2008
10   Bonds (the “Debt Service Schedule”). One column on that schedule listed the tax
11   increment for every bond year (the “Total Non-Housing Increment”); another
12   column showed an “all-in,” “no growth” debt service ratio of 1.26 for 2008
13   (representing tax increment revenues of $22,606,356 and total debt service of
14   $17,825,734), and 1.25 for every bond year thereafter.
15         82.    KND, which through Williams and Kinsell, knew or were reckless in
16   not knowing that the estimated assessed value of the Hangars was inflated,
17   prepared the Debt Service Schedule. The figures KND used in the Total Non-
18   Housing Increment column of the Debt Service Schedule relied on the inflated
19   value of the Hangars, and came from the “Total Pledge Revenue” column of
20   Exhibit 10A on page 2 of the Consultant’s April 2008 Supplement, which was
21   attached to the April 2008 Official Statement.
22         83.    The statements regarding the tax increment and the debt service ratios
23   in the April 2008 Official Statement and the attached April 2008 Supplement were
24   false and misleading.
25         84.    Neither the Consultant nor Disclosure Counsel knew that the tax
26   increment analysis in the April 2008 Report relied on false and inflated Hangar
27   values overstating the tax increment revenue. Neither Williams, Kinsell nor
28   Metzler informed Disclosure Counsel that the $65 million estimated assessed


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1    value of the Hangars was wrong. As a result, the Debt Service Schedule in the
2    April 2008 Official Statement and Exhibits 10A and 10C of the April 2008
3    Supplement overstated the tax increment available to secure those bonds and to
4    repay investors.
5          85.    The Debt Service Schedule also overstated the debt service ratio for
6    the offering. The Authority only met the required 1.25 minimum annual debt
7    service ratio because it used the overstated Hangar valuation. Therefore, the Debt
8    Service Schedule failed to disclose a debt service ratio based on an accurate
9    valuation of the four Hangars. Had the Authority used the accurate valuation, it
10   would have failed to meet the minimum 1.25 ratio in every bond year after 2008.
11         86.    Moreover, because of the overstated values of the Hangars and
12   resulting false disclosure of the tax increment and annual debt service ratio, the
13   April 2008 Bonds were substantially oversized.
14         87.    The tax increment and debt service ratio misrepresentations and
15   omissions in the April 2008 Official Statement and the April 2008 Supplement
16   were material. The tax increment securing the April 2008 Bonds and the annual
17   debt ratios disclosed in the Debt Service Schedule were critical factors investors
18   used to determine how they would be repaid. Moreover, the market required the
19   1.25 debt service ratio, which ensured that the Authority’s total projected annual
20   tax increment revenue would be 25% greater than the total annual debt service
21   payments for each year bonds would be outstanding, thereby providing a safety net
22   in the event assessed property values in the project area suffered unexpected losses.
23   Meeting the annual debt service ratio of 1.25 was also a prerequisite to the issuance
24   of the bonds under the indenture. Thus, if the 1.25 annual debt service ratio was
25   not met, the bonds would not have issued. Moreover, the credit rating agencies
26   focused on the debt service ratio, and a ratio below 1.25 would have affected the
27   credit quality of the April 2008 Bonds.
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1          88.    The December 2007 Bonds and April 2008 Bonds are currently in
2    default, and as of April 2013 were trading at roughly forty-five cents on the dollar.
3          3.     The Roles of the Authority and the City in the April 2008 Official
4                 Statement
5          89.    As the issuer, the Authority had ultimate authority over all of the
6    contents of the Official Statements and the attached Consultant reports, including
7    the April 2008 Official Statement and the attached April 2008 Supplement.
8          90.    As a senior officer, with a close relationship to the City and the
9    Authority, Metzler collaborated with both entities in the issuance of the April 2008
10   Bonds.
11         91.    Metzler played a significant role in connection with the Authority’s
12   tax increment bond offerings in general, including the April 2008 Bonds. He had
13   intimate knowledge of the projects at the Airport, and understood tax increment
14   financing and how annual debt service ratios are calculated.
15         92.    During much of the relevant time period, Metzler was the City’s
16   Director of Economic Development. As a result of that role, Metzler was the
17   person most familiar with economic development occurring or expected to occur in
18   the redevelopment area known as the Victor Valley Economic Development Area
19   (VVEDA), to which the City is the successor. Metzler worked on at least five
20   bond offerings for the Authority. He developed intimate knowledge of the projects
21   at the airport, and understood tax increment financing and how annual debt service
22   ratios are calculated.
23         93.    Beginning in about 2005, Metzler reviewed City bond documents,
24   particularly the official statements, from a disclosure perspective. Metzler
25   reviewed these documents in order to make sure that the representations regarding
26   the organization and regarding the projects were correct. Metzler also assisted in
27   compiling statistical data that was owned by the City, such as construction figures,
28   permit valuation and the number of permits that were pulled in the project area.


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1    Metzler often provided this information to the Consultant so that the Consultant
2    could obtain the most correct representation of property values that were expected
3    in the current year. Metzler understood this information was typically set forth in a
4    chart in the official statements. Metzler understood that other than permit values,
5    the Consultant relied only on information that ultimately came from the Assessor’s
6    office. The City’s Executive Director (“Executive Director”) met with Metzler and
7    others to jointly discuss each preliminary official statement and official statement.
8    Metzler was part of a group, which included the Authority’s Disclosure Counsel
9    and the City’s Finance Director, that would review the projections and Official
10   Statement. That group would then meet with the Executive Director offer their
11   opinions and voice any concerns.
12         94.    Although the Authority’s Official Statements were drafted initially by
13   Disclosure Counsel, these drafts were circulated to an unofficial disclosure
14   committee for comments. Metzler was a member of this committee. Working at
15   the direction of the City Manager, who also served as the Executive Director of the
16   Authority, Metzler worked with the Disclosure Counsel and the underwriters at
17   KND to draft sections of the Official Statements. He took the lead in drafting
18   some of the disclosure language concerning the Authority’s redevelopment
19   projects.
20         95.    The Authority’s Disclosure Counsel and KND looked to Metzler as
21   the Authority’s representative to approve the Official Statements, including the
22   April 2008 Official Statement. Metzler received drafts of the Authority’s
23   preliminary official statements and official statements, including the April 2008
24   Official Statement, and reviewed and commented on those drafts. He worked with
25   the Disclosure Counsel and the Underwriter to draft sections of the documents,
26   including some of the disclosure language concerning the Authority’s
27   redevelopment projects. Disclosure Counsel would send the preliminary draft of
28   the Official Statement for comment. Metzler would offer his comments,


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1    suggestions and edits directly back to Disclosure Counsel. Metzler understood that
2    Disclosure Counsel was in control of the official statement. In the event Metzler
3    saw something inaccurate in the official statement, he would change it.
4          96.    Metzler was the Authority’s “point person” concerning its Official
5    Statements for all of the bond issuances, including the April 2008 Official
6    Statement. He communicated with the ratings agencies, gave presentations to
7    potential investors and transmitted the county assessor’s most recent assessed
8    value figures to the Consultant. The Executive Director specifically tasked
9    Metzler with obtaining and providing the taxable assessed valuation data to the
10   Consultant, and with reviewing the Preliminary Official Statement and the Official
11   Statement to ensure they were accurate. Metzler and the Executive Director met to
12   discuss any substantive issues that Metzler brought to the Executive Director’s
13   attention in connection with these documents. In addition, the Executive Director
14   sat down to review the Consultant’s report with Metzler and others. The Executive
15   Director asked Metzler to explain the meaning of each of the columns in the
16   Consultant report and the way in which the numbers were computed.
17         97.    The Executive Director expected Metzler to conduct due diligence
18   concerning the valuations set forth in the Preliminary Official Statement and
19   Official Statement. When the Executive Director signed the April 2008 Official
20   Statement, he relied on Metzler’s work and due diligence to do so. With respect to
21   the valuation of the Hangars, the Executive Director relied on Metzler, whom the
22   Executive Director supervised, to offer his opinions and perform due diligence
23   because of Metzler’s previously demonstrated ability to accurately project assessed
24   valuations and ensure that the hangar valuations were accurate. The Executive
25   Director expected Metzler would utilize whatever resources and methodology he
26   deemed appropriate to assist in the preparation of accurate valuation projections.
27   Part of Metzler’s role included obtaining and providing the taxable assessed
28   valuation data to the Authority’s Consultant so that it could calculate the tax


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1    increment. Metzler also should have known that the Consultant relied on him for
2    the assessed values of the hangars.
3          98.    In signing the April 2008 Official Statement, the Executive Director
4    relied on Metzler’s work and due diligence. Disclosure Counsel and the
5    underwriter looked to Metzler as the Authority’s representative to approve the
6    Official Statements.
7          99.    Prior to the issuance of the April 2008 Bonds, Metzler learned facts
8    that reasonably indicated that the Hangars’ $65 million estimated assessed value
9    was not accurate. Metzler learned in March 2008 that the Assessor’s office had
10   valued the two hangars at a total of less than $9 million, and had valued a third
11   hangar’s at only about $9.4 million. Metzler also learned that the Assessor’s office
12   would assess the fourth hangar at the same value as the third hangar because both
13   hangars are identical unless the assessor’s office received the construction cost of
14   the fourth hanger. Assuming the fourth hangar received the same value as the
15   third, the total assessed values of the hangars would have been about $27 million,
16   less than half of the estimated $65 million used in the April 2008 Supplement
17   prepared by the Consultant and attached to the Official Statement. Metzler should
18   have known this, but did not exercise reasonable care in providing the updated
19   Hangar valuations to the Authority’s Consultant.
20         100. In each of the roles described above, Metzler did not exercise
21   reasonable care in informing anyone about the inflated Hangar valuations or the
22   misstatements in the Official Statements about the tax increment and debt service
23   ratio. As a result, the inflated $65 million valuation was used to calculate the tax
24   increment revenue and debt service ratio for the April 2008 Bonds.
25         101. Metzler should have known that the April 2008 Official Statement
26   materially misstated the tax increment and debt service ratio for the April 2008
27   Bonds. Because he was an employee of the City, and reported to the City
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1    Manager, the City should have known the falsity and misleading nature of these
2    misstatements.
3          102. Moreover, Metzler was the agent for the Authority with regard to
4    content in the Authority’s Official Statements. The Authority authorized him to
5    perform acts and communicate on its behalf in connection with the Authority’s
6    bond offerings. Therefore, the Authority was negligent in not knowing the falsity
7    and misleading nature of the misstatements concerning the tax increments and the
8    debt service ratio.
9                 a.       KND, Kinsell and Williams
10         103. KND, as the underwriter, had ultimate authority over the portions of
11   the Official Statements it prepared, including the false and misleading Debt
12   Service Schedule in the April 2008 Official Statement. KND’s name was also
13   prominently featured on the first page of the Official Statement for each bond
14   offering that it underwrote for the Authority.
15         104. Kinsell and Williams knew that the April 2008 Official Statement
16   materially misstated the tax increment and debt service ratio for the bonds.
17   Williams was a member of the informal disclosure committee for the Official
18   Statement, and both Kinsell and Williams reviewed and commented on draft
19   official statements, the April 2008 Supplement and other documents related to the
20   April 2008 Bonds. Despite knowing that the $65 million estimated assessed value
21   of the Hangars was wrong, Williams nonetheless used the April 2008 Supplement
22   to determine the size of the April 2008 Bonds and to generate the false Debt
23   Service Schedule in the April 2008 Official Statement. The annual debt service
24   ratios were critical to Williams’s sizing calculation because they limited the
25   principal amount of the bond offering. As such, Kinsell and Williams, along with
26   KND, substantially assisted the Authority in making that false and misleading
27   April 2008 Official Statement. Moreover, Kinsell and Williams substantially
28   assisted KND in making the false and misleading Official Statement.


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1          105. Because Williams and Kinsell were employees of KND, KND had
2    actual knowledge that the April 2008 Official Statement, the April 2008
3    Supplement attached as an appendix and the Debt Service Schedule were false and
4    misleading.
5    E.    Kinsell, Affiliates and KND’s Undisclosed Receipt of Bond Proceeds
6          106. Kinsell, Affiliates and KND, which underwrote the Authority’s bond
7    offerings from November 2006 through 2008, received over $2.7 million of bond
8    proceeds from the Authority and bondholders in connection with the project to
9    construct the four Hangars.
10         1.      The Unauthorized Construction Management Fees
11         107. Affiliates received bond proceeds of at least $450,534 from the
12   Authority and the bondholders in the form of construction management fees.
13         108. By mid-2006, the Authority and Kinsell learned of allegations that the
14   developer for the Hangars project had not been paying the subcontractors and that
15   the developer’s principal had likely diverted some of the bond proceeds from the
16   project for his own personal use.
17         109. Kinsell reached a “handshake deal” in June or July 2006 with the
18   Executive Director of the Authority whereby Kinsell, through Affiliates, would
19   oversee the project. Although formed earlier in 2002, the sole purpose of Affiliates
20   after June 2006 was to develop the Hangars. Kinsell is one of two managing
21   members of Affiliates, each of whom holds a 50% interest in the company. Kinsell
22   had no construction experience but retained a longtime friend as the new contractor
23   to complete construction of the Hangars.
24         110. Although that “handshake deal” was never reduced to a written
25   contract, all of the parties understood that it was a “cost plus 10% construction
26   management fee” arrangement. In a memorandum Kinsell sent on October 18,
27   2006 to Disclosure Counsel and to Authority representatives, Kinsell confirmed
28   that a 10% construction management fee would be charged “where necessary for a


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1    general contractor to be involved.” He also explained that he was “dividing these
2    monies by eight (8%) to [the new contractor] and two percent (2%) to Affiliates for
3    the overall project coordination.” Thus, although Affiliates was not actually
4    building the Hangars, it would be paid this 2% to oversee the use of the funds and
5    to perform “fund control.”
6          111. In July 2006, the Authority approved Affiliates’s new role, and, over
7    the next two years, made five separate loans totaling $60.38 million to Affiliates.
8    These loans included $22.2 million lent in August 2006, which was used: (1) to
9    immediately pay over $12 million to disgruntled subcontractors and $6 million to
10   the original developer to resolve various claims; and (2) to pay a portion of the
11   remaining costs necessary to complete the Hangars.
12         112. All of the loans made to Affiliates were funded from the proceeds of
13   bonds or notes issued by the Authority and underwritten or placed by KND.
14   Affiliates placed these lump sum amounts into bank accounts in its name, and there
15   was little, if any, oversight regarding how Affiliates spent these bond funds.
16         113. Periodically throughout the construction of the Hangars, Affiliates
17   paid the new contractor the 10% construction management fee that had been
18   earned as of that date. The contractor retained its 8% share of the fee and
19   “rebated” back to Affiliates the 2% fee owed to Affiliates, totaling not more than
20   $865,990 from October 2006 through October 2010.
21         114. However, Affiliates actually took at least $1,316,524 as the 2%
22   construction management fee, or at least $450,534 more than the amount that was
23   “rebated” back to it by the contractor. Affiliates simply took this excess
24   construction management fee directly from the bond proceeds the Authority loaned
25   Affiliates to construct the Hangars.
26         115. Affiliates collected the 2% construction management fee based on
27   expenses incurred in August 2006 that had nothing to do with the remaining costs
28   of construction, such as the payments to subcontractors for prior work and the


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1    payment to the original developer to settle claims. Thus, before KND underwrote
2    bonds for the Authority in November 2006, Kinsell and KND knew, or were
3    reckless in not knowing, that Affiliates planned to charge more than the authorized
4    2% construction management fee and did not disclose this information to investors.
5          2.     The “Property Management” Fees
6          116. Affiliates also charged the Authority a 15% “property management
7    fee” to take an additional $2.3 million – purportedly to “manage” the Hangars for
8    the Authority.
9          117. Kinsell told Affiliates’ CFO in August 2006 that Affiliates was
10   earning the property management fee as a result of Kinsell’s discussion with the
11   Executive Director of the Authority. This was false. Kinsell never told the
12   Executive Director about the property management fees, and the Authority never
13   authorized or agreed to pay the excessive property management fee taken by
14   Affiliates. In addition to the absence of any document confirming the property
15   management fee agreement, the Executive Director lacked the authority to enter
16   into any verbal agreement above $1,500 and any written agreement exceeding
17   $125,000 per year, limitations that Kinsell generally understood.
18         118. To keep track of the property management fees, Kinsell directed
19   Affiliates’s CFO to begin accruing the 15% property management fee based on
20   what Kinsell claimed were the “market rates” for the Hangar rents, as opposed to
21   the actual rents collected, which were much lower. Affiliates’s CFO prepared an
22   internal spreadsheet showing that Affiliates was purportedly accruing the fees as
23   early as March 2006, several months before KND underwrote the November 2006
24   Parity and Revenue Bonds. The Official Statements for these bonds did not
25   disclose this property management fee or the resulting conflict of interest.
26         119. Although Affiliates began accruing these fees as early as March 2006,
27   it did not take any of the property fees until much of the Hangars project was
28   complete. Specifically, the CFO’s spreadsheet shows that Affiliates accrued


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1    property management fees of $3,657,540 from March 2006 until June 2011, when
2    the Hangars were finally returned to the Authority. But Affiliates only took
3    $2,295,322 of these accrued fees because, as Kinsell explained, by 2009 or 2010
4    “the money ran out.” Indeed, Affiliates’s bank records confirm that only $32,187
5    remained in its accounts as of December 2009.
6          120. Kinsell used a significant portion of the property management fees
7    collected by Affiliates to pay the expenses of KND and its parent company,
8    Holdings. In October 2007 Affiliates transferred $25,000 to Holdings with the
9    notation “payroll” and, just a day before the April 2008 Bonds were issued,
10   Affiliates lent Holdings $100,000. In July 2008, KND agreed to immediately pay
11   $4 million to the U.S. Treasury to settle unrelated I.R.S. claims involving advance
12   refunding municipal bonds underwritten by KND between 1993 and 2003.
13   Beginning at that time and continuing through at least June 2011, Affiliates
14   transferred over $1 million in unauthorized property management fees to Holdings.
15   Without the funds from Affiliates, it would have been difficult for KND to pay its
16   employees.
17         121. Kinsell and Affiliates misled Authority representatives and hid the
18   fact that Affiliates was earning a property management fee.
19         3.     KND and Williams’s Lack of Disclosure of the Fees
20         122. None of the Official Statements for the bonds the Authority issued
21   between November 2006 and April 2008 disclosed to investors that Affiliates
22   received more than the agreed upon 2% construction management fee or that
23   Affiliates, an entity related to Kinsell and KND, was accruing an unauthorized
24   property management fee.
25         123. Affiliates received $9.9 million of proceeds from the November 2006
26   Parity Bonds, which, for a fee of $437,250, had been underwritten by KND. The
27   Official Statement for the November 2006 Parity Bonds did not disclose that: (1)
28   Affiliates was acting as construction manager of the Hangars and was receiving a


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1    2% construction management fee; (2) Affiliates had already received $22,200,000
2    in bond proceeds from the Authority; or (3) Affiliates was accruing an
3    unauthorized property management fee.
4          124. On November 21, 2006, the Authority issued the November 2006
5    Revenue Bonds, which KND underwrote for a fee of $802,000. Affiliates received
6    $13.6 million of the proceeds from that offering. The Official Statement disclosed
7    that Affiliates had taken over the Hangars from the prior developer and that “[f]or
8    its efforts in overseeing the completion of the Hangar-Facilities, KND Affiliates is
9    in negotiations with the Authority to receive a construction management fee in an
10   amount no greater than 2% of the remaining costs to complete the Hangar
11   Facilities . . .” Although this Official Statement disclosed Affiliates’s anticipated
12   role as construction manager and its 2% fee, KND and Kinsell concealed from
13   investors that Affiliates also charged a 2% fee for costs that were unrelated to the
14   remaining construction and that Affiliates was also accruing an unauthorized 15%
15   monthly property management fee.
16         125. On February 29, 2008, the Authority issued the $35 million in
17   Subordinate Tax Allocation Revenue Notes in the private placement with the
18   Bank. KND received a fee of $262,500 as the placement agent. That same date,
19   Affiliates received $10.4 million of the proceeds from this private placement to
20   build the Hangars.
21         126. During this 2007-2008 time period, KND underwrote other bonds
22   issued by the Authority. Although none of the proceeds of these issuances went to
23   Affiliates, it was not disclosed to investors that Affiliates was taking property
24   management and construction management fees that came from prior bonds issued
25   by the Authority and underwritten by KND. These include the following bonds:
26   (1) Taxable Housing Set-Aside Revenue Parity Bonds in March 2007 in the
27   amount of $41,460,000 for which KND received an underwriter’s fee of $518,250;
28   (2) the December 2007 Bonds for which KND received an underwriter’s fee of


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1    $735,000; and (3) the April 2008 Bonds for which KND received an underwriter’s
2    fee of $133,349.
3          127. The misstatements and omissions in the Official Statements for the
4    Authority’s bonds from November 2006 through April 2008 were material because
5    a reasonable investor would want to know about an undisclosed financial
6    arrangement such as here, where an entity related to the underwriter, like
7    Affiliates, received unauthorized proceeds from bonds underwritten by KND.
8    These misstatements and omissions were also material to the Authority because
9    such fees increased the costs of issuing the bonds.
10   F.    KND’s, Kinsell’s and Williams’s Due Diligence Failures
11         128. KND, through Williams and Kinsell, served as the underwriter in
12   negotiated offerings with the Authority and therefore substantially participated in
13   the preparation of the Authority’s Official Statements for the bonds. KND’s name
14   appeared prominently on the first page of each Official Statement. KND also
15   recommended and sold the Authority’s municipal securities to investors. In so
16   doing, KND made an implied representation it had reviewed the accuracy of the
17   Authority’s Official Statements and formed a reasonable basis for belief in the
18   truthfulness and completeness of the key representations made therein.
19         129. Kinsell and Williams worked on behalf of KND to underwrite the
20   bonds. In that regard, each reviewed and commented on draft Official Statements,
21   the Consultant Reports, indentures and other bond documents. Both Kinsell and
22   Williams had authority to sign the bond purchase agreements. Although Williams
23   was responsible on a day-to-day basis, she made sure to copy Kinsell on emails
24   and to talk to him daily about the bonds. Indeed, the Authority was Kinsell’s client
25   and he had hands-on involvement with regard to the Authority’s bond offerings.
26         130. Notwithstanding its obligation as an underwriter, KND’s implicit
27   representations regarding its due diligence were false. First, as alleged above, the
28   April 2008 Official Statement, the Debt Service Schedule and the April 2008


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1    Supplement misstated the tax increment and debt service ratios based on inflated
2    assessed values of the Hangars. Kinsell and Williams substantially assisted in
3    preparing the Official Statement, and each knew the April 2008 Supplement relied
4    on the inflated $65 million estimated assessed value of the Hangars, but omitted to
5    disclose the estimate was no longer valid. As set forth above, on two separate
6    occasions before the April 2008 Bonds were issued, Williams and Kinsell received
7    emails from the assessor’s offices showing that the Hangars’ $65 million estimated
8    assessed value was inflated by more than 100%.
9           131. Second, KND’s lack of disclosure regarding the construction and
10   property management fees paid to Affiliates in connection with the Authority’s
11   bonds from November 2006 through April 2008 was misleading. Kinsell
12   substantially assisted in preparing the Official Statements, and knew that these fees
13   were being accrued by Affiliates. Despite this knowledge, none of the Official
14   Statements for those bonds disclosed to investors that Affiliates received more than
15   the agreed upon 2% construction management fee or that Affiliates, an entity
16   related to Kinsell and KND, was accruing an unauthorized property management
17   fee.
18          132. Following the April 2008 Bond offering, Kinsell decided to transition
19   from investment banker to financial advisor for the City in order to assist the City
20   with a power plant project. Kinsell expressly acknowledged that in his new role as
21   financial advisor, he was a fiduciary to the City, yet he never disclosed that
22   Affiliates was taking unauthorized management fees from bond proceeds issued by
23   the Authority.
24                              FIRST CLAIM FOR RELIEF
25                    Violations of Section 17(a)(2) of the Securities Act
26                           (against the City and the Authority)
27          133. The SEC realleges and incorporates by reference paragraphs 1
28   through 132 above.


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1          134. The Authority’s April 2008 Official Statement, including the Debt
2    Service Schedule and the April 2008 Supplement contained material
3    misrepresentations and omissions to investors regarding, among other things, the
4    tax increment amount available to repay those bonds and the projected annual debt
5    service ratios for every bond year after 2008, which its agents were negligent in not
6    knowing were false and misleading.
7          135. Defendants the City and the Authority, by engaging in the conduct
8    described above, directly or indirectly, in the offer or sale of securities by the use
9    of means or instruments of transportation or communication in interstate
10   commerce or by use of the mails, obtained money or property by means of untrue
11   statements of a material fact or by omitting to state a material fact necessary in
12   order to make the statements made, in light of the circumstances under which they
13   were made, not misleading.
14         136. By engaging in the conduct described above, Defendants Authority
15   and the City violated, and unless restrained and enjoined, will continue to violate,
16   Section 17(a)(2) of the Securities Act, 15 U.S.C. § 77q(a).
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1                            SECOND CLAIM FOR RELIEF
2                          Fraud in the Offer or Sale of Securities
3                    Violations of Section 17(a)(2) of the Securities Act
4                                       (against KND)
5          137. The SEC realleges and incorporates by reference paragraphs 1
6    through 132 above.
7          138. Defendant KND, as underwriter for the Authority’s bond offerings,
8    made an implied recommendation that it had reviewed the accuracy of the Official
9    Statements and formed a reasonable basis for belief in the truthfulness and
10   completeness of the key representations made in those offering documents. These
11   implicit representations were false.
12         139. Moreover, Defendant KND obtained money or property by means of
13   material misrepresentations and omissions to investors in the April 2008 Official
14   Statement, including the Debt Service Schedule and the April 2008 Supplement,
15   regarding, among other things, the tax increment amount available to repay those
16   bonds and the projected annual debt service ratios for every bond year after 2008.
17         140. Defendant KND also obtained money or property by means of
18   material misrepresentations and omissions to investors in the Official Statements
19   for the November 2006 Revenue and Parity Bonds regarding, among other things,
20   KND’s compensation and the use of bond proceeds.
21         141. Defendant KND also obtained money or property by means of
22   material misrepresentations and omissions to investors in the Official Statements
23   for the Authority’s bonds issued from November 2006 through April 2008
24   regarding, among other things, Affiliates’s unauthorized receipt and
25   misappropriation of over $2.7 million in bond proceeds.
26         142. Defendant KND by engaging in the conduct described above, directly
27   or indirectly, in the offer or sale of securities by the use of means or instruments of
28   transportation or communication in interstate commerce or by use of the mails,


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1    obtained money or property by means of untrue statements of a material fact or by
2    omitting to state a material fact necessary in order to make the statements made, in
3    light of the circumstances under which they were made, not misleading.
4          143. By engaging in the conduct described above, Defendant KND
5    violated, and unless restrained and enjoined, will continue to violate, Section 17(a)
6    of the Securities Act, 15 U.S.C. § 77q(a).
7                              THIRD CLAIM FOR RELIEF
8                     Aiding and Abetting Violations of Section 10(b)
9                           of the Exchange Act and Rule 10b-5
10                            (against KND, Kinsell, Williams)
11         144. The SEC realleges and incorporates by reference paragraphs 1
12   through 132 above.
13         145. Defendant Authority violated Section 10(b) of the Securities Act and
14   Rule 10b-5(b) thereunder by making material misrepresentations and omissions to
15   investors in the April 2008 Official Statement regarding, among other things, the
16   tax increment amount available to repay those bonds and the projected annual debt
17   service ratios for every bond year after 2008.
18         146. Defendants KND, Kinsell and Williams knowingly provided
19   substantial assistance to the Authority in its violation of Section 10(b) of the
20   Securities Act and Rule 10b-5(b) thereunder in connection with the Authority’s
21   April 2008 Bond offering.
22         147. By engaging in the conduct described above, Defendants KND,
23   Kinsell and Williams, and each of them, aided and abetted and, unless restrained
24   and enjoined, will continue to aid and abet violations of Section 10(b) of the
25   Securities Act and Rule 10b-5 thereunder.
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1                              FOURTH CLAIM FOR RELIEF
2                 Violations of Section 15B(c)(1) of the Exchange Act and
3                        MSRB Rules G-17, G-27 and G-32(a)(iii)(A)(2)
4                                       (against KND)
5          148. The SEC realleges and incorporates by reference paragraphs 1
6    through 132 above.
7          149. Defendant KND, by engaging in the conduct described above, directly
8    or indirectly, by use of means or instrumentalities of interstate commerce, or of the
9    mails, to effect a transaction in, or to induce the purchase or sale of, a municipal
10   security in contravention of Rules promulgated by the Municipal Securities
11   Rulemaking Board (“MSRB”), in particular Rules G-17, G-27 and G-
12   32(a)(iii)(A)(2).
13         150.    Defendant KND, by engaging in the conduct described above,
14   directly or indirectly, by use of means or instrumentalities of interstate commerce,
15   or of the mails, to provide advice to or on behalf of a municipal entity with respect
16   to municipal financial products or the issuance of municipal securities in
17   contravention of Rules promulgated by the MSRB, in particular Rules G-17, G-27
18   and G-32(a)(iii)(A)(2).
19         151. By engaging in the conduct described above, Defendant KND
20   violated, and unless restrained and enjoined, will continue to violate, Section 15B
21   of the Exchange Act, 15 U.S.C. § 78o-4.
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1                               FIFTH CLAIM FOR RELIEF
2       Aiding and Abetting Violations of Section 15B(c)(1) of the Exchange Act
3                    and MSRB Rules G-17, G-27 and G-32(a)(iii)(A)(2)
4                               (against Kinsell and Williams)
5            152. The SEC realleges and incorporates by reference paragraphs 1
6    through 132 above.
7            153. By engaging in the conduct alleged above, Defendant KND violated
8    Section 15B(c)(1) of the Exchange Act and MSRB Rules G-17, G-27 and G-
9    32(a)(iii)(A)(2).
10           154. Defendant Kinsell knowingly provided substantial assistance to KND
11   in its violations of Section 15B(c)(1) of the Exchange Act and MSRB Rules G-17,
12   G-27 and G-32(a)(iii)(A)(2).
13           155. Defendant Williams knowingly provided substantial assistance to
14   KND in its violations of Section 15B(c)(1) of the Exchange Act and MSRB Rule
15   G-17.
16           156. By engaging in the conduct described above, Defendant Kinsell aided
17   and abetted and, unless restrained and enjoined, will continue to aid and abet
18   violations of Section 15B(c)(1) of the Securities Act and MSRB Rules G-17, G-27
19   and G-32(a)(iii)(A)(2).
20           157. By engaging in the conduct described above, Defendant Williams
21   aided and abetted and, unless restrained and enjoined, will continue to aid and abet
22   violations of Section 15B(c)(1) of the Securities Act and MSRB Rule G-17.
23                                 PRAYER FOR RELIEF
24           WHEREFORE, the SEC respectfully requests that the Court:
25                                              I.
26           Issue findings of fact and conclusions of law that the Authority, the City,
27   KND, Kinsell, and Williams committed the alleged violations.
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1                                              II.
2          Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of
3    Civil Procedure, permanently enjoining Defendant Authority and the City and their
4    agents, servants, employees, and attorneys, and those persons in active concert or
5    participation with any of them, who receive actual notice of the judgment by
6    personal service or otherwise, and each of them, from violating Section 17(a)(2) of
7    the Securities Act, 15 U.S.C. § 77q(a).
8                                              III.
9          Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of
10   Civil Procedure, permanently enjoining Defendant KND and its agents, servants,
11   employees, and attorneys, and those persons in active concert or participation with
12   any of them, who receive actual notice of the judgment by personal service or
13   otherwise, and each of them, from violating Section 17(a)(2) of the Securities Act,
14   15 U.S.C. § 77q(a), and 15B(c)(1) of the Exchange Act, 15 U.S.C. §§ 78j(b) and
15   78o-4(c)(1), Rule 10b-5thereunder, 17 C.F.R. §§ 240.10b-5 and MSRB Rules G-
16   17, G-27 and G-32(a)(iii)(A)(2), and from aiding and abetting violations of Section
17   10(b) of the Exchange Act and Rule 10b-5 thereunder.
18                                             IV.
19         Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of
20   Civil Procedure, permanently enjoining Defendant Kinsell and his agents, servants,
21   employees, and attorneys, and those persons in active concert or participation with
22   any of them, who receive actual notice of the judgment by personal service or
23   otherwise, and each of them, from violating Section 17(a) of the Securities Act, 15
24   U.S.C. § 77q(a), and from aiding and abetting violations of Sections 10(b) and
25   15B(c)(1) of the Exchange Act, Rule 10b-5 thereunder, and MSRB Rules G-17, G-
26   27 and G-32(a)(iii)(A)(2).
27                                             V.
28         Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of


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1    Civil Procedure, permanently enjoining Defendant Williams and her agents,
2    servants, employees, and attorneys, and those persons in active concert or
3    participation with any of them, who receive actual notice of the judgment by
4    personal service or otherwise, and each of them, from aiding and abetting
5    violations of Sections 10(b) and 15B(c)(1) of the Exchange Act, Rule 10b-5
6    thereunder, and MSRB Rule G-17.
7                                              VI.
8          Order Defendants KND, Kinsell, and Williams to disgorge all ill-gotten
9    gains from their illegal conduct, up to and including the entire proceeds of the
10   April 2008 Bonds, together with prejudgment interest thereon.
11                                            VII.
12         Order Defendants KND, and Kinsell to pay civil penalties under Section
13   20(d) of the Securities Act, 15 U.S.C. § 77t(d), and Section 21(d)(3) of the
14   Exchange Act, 15 U.S.C. § 78u(d)(3).
15                                            VIII.
16         Retain jurisdiction of this action in accordance with the principles of equity
17   and the Federal Rules of Civil Procedure in order to implement and carry out the
18   terms of all orders and decrees that may be entered, or to entertain any suitable
19   application or motion for additional relief within the jurisdiction of this Court.
20                                             IX.
21         Grant such other and further relief as this Court may determine to be just and
22   necessary.
23
24   Dated: July 26, 2018                             Respectfully submitted,
25
                                                      /s/ Donald W. Searles
26                                                    Douglas M. Miller
                                                      Donald W. Searles
27                                                    Amy Jane Longo
                                                      Attorneys for Plaintiff
28                                                    Securities and Exchange Commission


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1                                  PROOF OF SERVICE
2    I am over the age of 18 years and not a party to this action. My business address
     is:
3
           U.S. SECURITIES AND EXCHANGE COMMISSION,
4          444 S. Flower Street, Suite 900, Los Angeles, California 90071
           Telephone No. (323) 965-3998; Facsimile No. (213) 443-1904.
5
     On July 26, 2018, I caused to be served the document entitled SECOND
6    AMENDED COMPLAINT on all the parties to this action addressed as stated on
     the attached service list:
7
     ☐      OFFICE MAIL: By placing in sealed envelope(s), which I placed for
8    collection and mailing today following ordinary business practices. I am readily
     familiar with this agency’s practice for collection and processing of
9    correspondence for mailing; such correspondence would be deposited with the
     U.S. Postal Service on the same day in the ordinary course of business.
10
            ☐      PERSONAL DEPOSIT IN MAIL: By placing in sealed
11   envelope(s), which I personally deposited with the U.S. Postal Service. Each such
     envelope was deposited with the U.S. Postal Service at Los Angeles, California,
12   with first class postage thereon fully prepaid.
13          ☐      EXPRESS U.S. MAIL: Each such envelope was deposited in a
     facility regularly maintained at the U.S. Postal Service for receipt of Express Mail
14   at Los Angeles, California, with Express Mail postage paid.
15   ☐      HAND DELIVERY: I caused to be hand delivered each such envelope to
     the office of the addressee as stated on the attached service list.
16
     ☐     UNITED PARCEL SERVICE: By placing in sealed envelope(s)
17   designated by United Parcel Service (“UPS”) with delivery fees paid or provided
     for, which I deposited in a facility regularly maintained by UPS or delivered to a
18   UPS courier, at Los Angeles, California.
19   ☐      ELECTRONIC MAIL: By transmitting the document by electronic mail
     to the electronic mail address as stated on the attached service list.
20
     ☒      E-FILING: By causing the document to be electronically filed via the
21   Court’s CM/ECF system, which effects electronic service on counsel who are
     registered with the CM/ECF system.
22
     ☐     FAX: By transmitting the document by facsimile transmission. The
23   transmission was reported as complete and without error.
24    I declare under penalty of perjury that the foregoing is true and correct.
25
26   Date: July 26, 2018                       /s/ Donald W. Searles
27                                             Donald W. Searles
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1                      SEC v. CITY OF VICTORVILLE, et al.
              United States District Court – Central District of California
2                       Case No. EDCV 13-0776 JAK (DTBx)
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